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                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
_______________________________________
                                        )
GULED HASSAN DURAN (ISN 10023),        )
                                       )
                  Petitioner,          )
                                       )
      v.                               )      Civil Action No. 16-2358 (RBW)
                                       )
DONALD J. TRUMP, et al.,                )
                                        )
                  Respondents.         )
_______________________________________)

                                           ORDER

         Upon consideration of the respondents’ Unopposed Motion for Extension of Time for

Respondents to Respond to the Court’s October 7, 2020 Order, and for good cause shown, it is

hereby

         ORDERED that the respondents’ Unopposed Motion for Extension of Time for

Respondents to Respond to the Court’s October 7, 2020 Order, ECF No. 107, is GRANTED. It

is further

         ORDERED that the deadline for the respondents to respond to the Court’s

October 7, 2020 Order is EXTENDED to November 13, 2020.

         SO ORDERED this 20th day of October, 2020.


                                                          REGGIE B. WALTON
                                                          United States District Judge
